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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               BEAUMONT DIVISION

UNITED STATES OF AMERICA                        §
                                                §
V.                                              §    CASE NO. 1:09-CR-109(32)
                                                §
ALFRED CARRIER                                  §

                          MEMORANDUM ORDER
             ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                       ON DEFENDANT’S GUILTY PLEA

       The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

Judge, for administration of a guilty plea under Rules 11 and 32 of the Federal Rules of Criminal

Procedure. Judge Giblin conducted a hearing in the form and manner prescribed by Federal Rule

of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea

Before the United States Magistrate Judge [Doc. #1273]. The magistrate judge recommended that

the Court accept Defendant’s guilty plea and conditionally accept the plea agreement. He further

recommended that the Court finally adjudge Defendant as guilty on Count One of the charging

Second Superseding Indictment filed against Defendant in this cause.

       The parties have not objected to the magistrate judge’s findings. The Court is of the opinion

that the Findings of Fact and Recommendation on Guilty Plea should be accepted. It is, therefore,

ORDERED that the Findings of Fact and Recommendation on Guilty Plea [Doc. #1273] of the

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United States Magistrate Judge is ADOPTED. The Court defers acceptance of the plea agreement

until after review of the presentence report. It is further ORDERED that, in accordance with

Defendant’s guilty plea and the magistrate judge’s findings and recommendation, Defendant, Alfred

Carrier, is hereby adjudged as guilty on Count One of the charging Second Superseding

Indictment charging violations of Title 21, United States Code, Section 846.

       SIGNED this the 20 day of September, 2010.




                                     ____________________________
                                     Thad Heartfield
                                     United States District Judge




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